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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                      Chapter 11

JPA NO. 111 CO., LTD. and                                   Case No.: 21-12075 (DSJ)
JPA No. 49 CO., LTD.,

                          Debtors. 1


                   ORDER (I) WAIVING CERTAIN CREDITOR LIST
            FILING REQUIREMENTS; (II) AUTHORIZING THE FILING OF A
           CONSOLIDATED LIST OF TOP 30 UNSECURED CREDITORS; AND
          (III) AUTHORIZING THE DEBTORS TO ESTABLISH PROCEDURES
         FOR NOTIFYING PARTIES OF THE COMMENCEMENT OF THIS CASE

                Upon the application (the “Motion”)2 of the debtors and debtors in possession (the

“Debtors”) in the above-captioned cases (the “Chapter 11 Cases”) for an order (as modified for

the reasons discussed on the record of the hearing on the Motion, this “Order”) (i) waiving the

List Filing Requirements; (ii) authorizing the Debtors to file the Consolidated Top 30 List in lieu

of individual Top 20 Lists; and (iii) (A) authorizing the Debtors to establish the Procedures for

notifying parties of the commencement of these Chapter 11 Cases and of the Section 341

Meeting and (B) approving the form of the Notice of Commencement, a copy of which is

attached hereto as Exhibit 1, all as set forth more fully in the Motion; and upon the First Day

Declaration; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and the Court




1
    The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
    corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
    0013.

2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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having found that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the

Court may enter a final order consistent with Article III of the United States Constitution; and

the Court having found that venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and notice of the Motion having been given as provided in the Motion, and such notice

having been adequate and appropriate under the circumstances; and the Court having reviewed

the Motion and the First Day Declaration and having heard the statements in support of the relief

requested therein at a hearing before the Court on December 20, 2021 , if any (the “Hearing”);

and the Court having determined that the relief requested in the Motion is in the best interests of

the Debtors, their estates, creditors, and all parties in interest; and the Court having determined

that the legal and factual bases set forth in the Motion and on the record of the Hearing establish

just cause for the relief granted herein; and all objections to the Motion, if any, having been

withdrawn or overruled; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefore, [DSJ 12/20/2021]

              IT IS HEREBY ORDERED THAT:

               1.     The Motion is GRANTED as set forth herein.

               2.     The Debtors are authorized to file a single Consolidated Top 30 List in lieu

of each Debtor filing a separate Top 20 List.

               3.     The Notice of Commencement, in substantially the form attached as

Exhibit 1 hereto, is approved.

               4.     On or before the date that is twenty-one (21) days prior to the date on

which the Section 341 Meeting is to be held, the Debtors shall cause the Notice of

Commencement to be served via first-class mail on all creditors on the Creditor List and via

e-mail where available.




                                                 2
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               5.      The form and manner of notice as provided herein are reasonably

calculated to inform interested parties of these Chapter 11 Cases and are hereby approved.

               6.      Notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(h) and the Local

Rules are satisfied by such notice.

              7.       The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Order.

              8.       This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.

Dated:   New York, New York
         December 20, 2021

                                            s/ David S. Jones
                                       HONORABLE DAVID S. JONES
                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                             Notice of Commencement
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                                                                341 MEETING DATE: _________ AT: ___ (EST)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

JPA NO. 111 CO., LTD. and                                       Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                                (Jointly Administered)
                                  1
                          Debtor.


              NOTICE OF CHAPTER 11 BANKRUPTCY CASES AND NOTICE OF
      MEETING OF CREDITORS PURSUANT TO SECTION 341 OF THE BANKRUPTCY CODE

    On December 17, 2021, JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd., as debtors and
    debtors in possession (together, the “Debtors”) in the above-captioned chapter 11 cases (the
    “Chapter 11 Cases”) filed cases under chapter 11 of the Bankruptcy Code. An order for
    relief has been entered.
    This notice has important information about the case for creditors, debtors, and trustees,
    including information about the meeting of creditors and deadlines. Read both pages
    carefully.
    The filing of these Chapter 11 Cases imposed an automatic stay against most collection
    activities. This means that creditors generally may not take action to collect debts from the
    debtor or the debtor’s property. For example, while the stay is in effect, creditors cannot sue,
    assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors
    cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate
    the stay can be required to pay actual and punitive damages and attorney’s fees.
    Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to
    have a particular debt excepted from discharge may be required to file a complaint in the
    bankruptcy clerk’s office within the deadline specified in this notice. (See line 11 below for
    more information.)
    To protect your rights, consult an attorney. All documents filed in the case may be inspected
    at the bankruptcy clerk’s office at the address listed below, through PACER (Public Access to
    Court Electronic Records at https://pacer.uscourts.gov).

    The staff of the bankruptcy clerk’s office cannot give legal advice.
    Do not file this notice with any proof of claim or other filing in the case.




1
      The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’ corporate
      address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-0013.
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    1. Debtors’ full names:                                                             JPA No. 111 Co., Ltd. and
                                                                                        JPA No. 49 Co., Ltd.


    2. All other names used by the Debtor(s) in the last 8 years:                       N/A


    3. Address                                                                          Kasumigaeski Common Gate West Tower
                                                                                        3-2-1 Kasumigaeski
                                                                                        Chiyoda-Ku, Tokyo 100-0013

    4. Debtor’s attorneys                                                               Togut, Segal & Segal LLP
                                                                                        Kyle J. Ortiz
                                                                                        Bryan M. Kotliar
                                                                                        Amanda C. Glaubach
                                                                                        One Penn Plaza, Suite 3335
                                                                                        New York, New York 10119
                                                                                        Contact Phone:
                                                                                        (212) 594-5000
                                                                                        Contact email: kortiz@teamtogut.com
                                                                                                       bkotliar@teamtogut.com
                                                                                                       aglaubach@teamtogut.com

    5. Bankruptcy clerk’s office
                                                                                        Hours open:    8:30 a.m. – 5:00 p.m.
         Documents in this case may be
         filed at this address:                                                         Contact phone: (212) 668-2870
         Clerk of the United States Bankruptcy Court
         United States Bankruptcy Court, S.D.N.Y.
         One Bowling Green
         New York, New York 10004
        or online at https://pacer.uscourts.gov


    6. Meeting of Creditors:                                                          TO BE DETERMINED

        Location:                                                                     DUE TO THE IMPACT OF COVID-19, THE
                                                                                      MEETING OF CREDITORS WILL ONLY BE
                                                                                      CONDUCTED TELEPHONICALLY

                                                                                      DIAL-IN NO.:
                                                                                      PARTICIPANT CODE:


    The Debtor’s representative must be present at the meeting to be questioned under oath. Creditors may attend, but are not
    required to do so. The meeting may be continued or adjourned to a later date. If so, the date will be on the court
    docket.




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   7. Proof of Claim                   Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send
      Deadline                                                             you another notice.

                                       A proof of claim is a signed statement describing a creditor’s claim. A proof of
                                       claim form may be obtained at www.uscourts.gov or at any bankruptcy clerk’s
                                       office.
                                       Your claim will be allowed in the amount scheduled unless:
                                       ■ your claim is designated as disputed, contingent, or unliquidated;
                                       ■ you file a proof of claim in a different amount; or
                                       ■ you receive another notice.
                                       If your claim is not scheduled or if your claim is designated as disputed, contingent, or
                                       unliquidated, you must file a proof of claim or you might not be paid on your claim and
                                       you might be unable to vote on a plan. You may file a proof of claim even if your claim
                                       is scheduled.

                                       You may review the schedules at the bankruptcy clerk’s office or online at
                                       http://pacer.uscourts.gov.

                                       Secured creditors retain rights in their collateral regardless of whether they file a proof
                                       of claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy
                                       court, with consequences a lawyer can explain. For example, a secured creditor who
                                       files a proof of claim may surrender important nonmonetary rights, including the right
                                       to a jury trial.

  8. Exception to                      If § 523(c) applies to your claim and you seek to have it excepted from
     Discharge Deadline                discharge, you must start a judicial proceeding by filing a complaint by the
     The bankruptcy clerk’s            deadline stated below.
     office must receive a
     complaint and any                 Deadline for filing the complaint:             Notice of deadline will be sent at a later time.
     required filing fee by the
     following deadline.

                                       If you are a creditor receiving notice mailed to a foreign address, you may file a
  9. Creditors with a                  motion asking the court to extend the deadlines in this notice. Consult an attorney
     Foreign Address                   familiar with United States bankruptcy law if you have any questions about your
                                       rights in this case.

  10. Filing a Chapter 11              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not
      Bankruptcy Case                  effective unless the court confirms it. You may receive a copy of the plan and a
                                       disclosure statement telling you about the plan, and you may have the opportunity to
                                       vote on the plan. You will receive notice of the date of the confirmation hearing, and
                                       you may object to confirmation of the plan and attend the confirmation hearing.
                                       Unless a trustee is serving, the debtor will remain in possession of the property and
                                       may continue to operate its business.

  11. Discharge of Debts               Confirmation of a chapter 11 plan may result in a discharge of debts, which may
                                       include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that
                                       creditors may never try to collect the debt from the debtor except as provided in the
                                       plan. If you want to have a particular debt owed to you excepted from the discharge
                                       and § 523(c) applies to your claim, you must start a judicial proceeding by filing a
                                       complaint and paying the filing fee in the bankruptcy clerk’s office by the deadline.




Official Form 309F1 (For Corporations or Partnerships)   Notice of Chapter 11 Bankruptcy Case                                       page 3
